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    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                              Office of the Clerk
        United States Courthouse
                                                                             Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                             www.ca7.uscourts.gov
          Chicago, Illinois 60604




                                                     ORDER
April 19, 2022

By the Court:
                                     ROBERTO MATA,
                                             Petitioner - Appellant

No. 20-3151                          v.

                                     CHRISTINE BRANNON, Warden,
                                              Respondent - Appellee
Originating Case Information:
District Court No: 1:12-cv-01376
Northern District of Illinois, Eastern Division
District Judge Andrea R. Wood


The following is before the court: STIPULATION, filed on April 15, 2022, by counsel
for the parties.

To the extent that the parties seek to designate items to be included in the record on
appeal, the court will take no action on the filing because it is unnecessary. The district
court no longer transmits the record on appeal. Because the record is electronic, it is
available for this court's use without the need for transmission of a physical record. The
parties are reminded that, pursuant to Circuit Rule 10(a)(3), they must ensure that all
electronic and non-electronic documents necessary for review on appeal are part of the
district court record. If the parties would like to correct or supplement the record on
appeal, they should make that request in the district court. Circuit Rule 10(b).



form name: c7_Order_BTC        (form ID: 178)
